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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION


 ANTHONY MEYERS,                                   Civil Action No. 7:20-cv-00532
     Plaintiff,
                                                   MEMORANDUM OPINION
 v.
                                                   By: Glen E. Conrad
 ABINGDON REGIONAL JAIL, et al,                    Senior United States District Judge
      Defendant(s),



        Plaintiff, proceeding pro se, filed a civil rights complaint, pursuant to 42 U.S.C. §1983.

By order entered September 8, 2020, the court directed plaintiff to submit within 20 days from

the date of the order an inmate account form, and a certified copy of plaintiff’s trust fund account

statement for the six-month period immediately preceding the filing of the complaint, obtained

from the appropriate prison official of each prison at which plaintiff is or was confined during

that six-month period. On September 17, 2020 the order dated September 8, 2020 was returned

as undeliverable with no forwarding address. Plaintiff was advised that a failure to comply

would result in dismissal of this action without prejudice.

        More than 20 days have elapsed, and plaintiff has failed to comply with the described

conditions. Accordingly, the court dismisses the action without prejudice and strikes the case

from the active docket of the court. Plaintiff may refile the claims in a separate action once

plaintiff is prepared to comply with the noted conditions.

        The Clerk is directed to send a copy of this Memorandum Opinion and accompanying

Order to plaintiff.
                     2nd day of October, 2020.
        ENTER: This _____



                                              __________________________________
                                                    Senior United States District Judge
